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 7

 8                                        UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITES STATES OF AMERICA,                         No. 1:15-CV-01909-LJO-SAB

12                           Plaintiff,                 STIPULATION AND ORDER TO UNSEAL
                                                        ACTION AND LIFT STAY
13             v.

14    APPROXIMATELY $50,000.00 SEIZED
      FROM THE CALIFORNIA FRANCHISE
15    TAX BOARD, SOURCED FROM
      FUNDS WITHDRAWN FROM BANK
16    OF AMERICA SAVINGS ACCOUNT
      NUMBER 325016557963, HELD IN THE
17    NAME OF MARTEL 3D, LLC, and

18    2011 BMX X3, VIN:
      5UXX5C54BL716300,
19
                             Defendants.
20
21

22            The United States of America, through its undersigned counsel, and potential claimant

23   Ara Dolarian, by and through his counsel, George B. Newhouse, Jr., request that the Court unseal

24   the action.

25   ///

26   ///

27   ///

28   ///
     STIPULATION AND ORDER TO UNSEAL ACTION AND LIFT    1
     STAY
     Case 1:15-cv-01909-LJO-SAB Document 33 Filed 12/12/18 Page 2 of 2


 1            The parties further stipulate and request that the Court lift the stay imposed in this case.

 2            On December 23, 2015, the United States filed a Notice of Related Case, relating this

 3   action with United States v. Approximately $3,801,034.94 in U.S. Currency Seized from Citibank

 4   Account Number 206054579, et al., 1:15-CV-00954-DAD-SKO. The Parties intend to request

 5   the Court to consolidate the instant action, with No. 1:15-CV-00954-DAD-SKO, as both cases

 6   arise from the same set of operative facts and present similar questions of law. Once the matters

 7   are consolidated, the parties will confer regarding a mutually convenient date for setting a

 8   Scheduling Conference.

 9            IT IS SO STIPULATED.

10   Dated: December 11, 2018                                 McGREGOR W. SCOTT
                                                              United States Attorney
11

12                                                             /s/ Jeffrey A. Spivak
                                                              JEFFREY A. SPIVAK
13
                                                              Assistant United States Attorney
14

15   Dated: December 11, 2018                                  /s/ George B. Newhouse, Jr.
                                                              GEORGE NEWHOUSE
16                                                            Attorney for Potential Claimant
                                                              Ara Dolarian
17
                                                              (As approved by email on 12/11/2018)
18

19

20                                                     ORDER

21            For the reasons stipulated above, this matter is UNSEALED and UNSTAYED.

22   IT IS SO ORDERED.
23
         Dated:       December 11, 2018                        /s/ Lawrence J. O’Neill _____
24                                                     UNITED STATES CHIEF DISTRICT JUDGE

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28
     STIPULATION AND ORDER TO UNSEAL ACTION AND LIFT      2
     STAY
